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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 AXSOME MALTA LTD. and AXSOME
 THERAPEUTICS, INC.,                            Civil Action No. __________________
                        Plaintiffs,
                                                (Filed Electronically)
        v.

 AUROBINDO PHARMA USA, INC. and
 AUROBINDO PHARMA LIMITED,

                        Defendants.


                      FED. R. CIV. P. 7.1 DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, counsel for Plaintiffs Axsome Malta Ltd. and Axsome

Therapeutics, Inc. certifies the following:

   1. The full name of the parties represented by me are: Axsome Malta Ltd. and Axsome

Therapeutics, Inc.

   2. Axsome Malta Ltd. is a wholly-owned subsidiary of Axsome Therapeutics, Inc., which is

a publicly traded company.
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Dated: January 18, 2024                   By: s/ Charles M. Lizza
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